     Case 2:20-cr-00005-SMJ             ECF No. 14        filed 01/23/20      PageID.19 Page 1 of 1




      United States District Court, Eastern District of Washington
                                Magistrate Judge Mary K. Dimke
                                            Richland

 USA v. Nicholas Sean Carter                                    Case No. 2:20-CR-0005-SMJ-2


 Arraignment/Initial Appearance on Indictment:                                                  01/23/2020


 ☒ Sara Gore, Courtroom Deputy [R]                        ☒ Daniel Fruchter, US Atty
 ☒ Pam Howard, Courtroom Deputy [Tele]                    ☒ Nicholas Marchi, Defense Atty
 ☒ Erica Helms, US Probation / Pretrial                   ☒ Interpreter NOT REQUIRED
   Services Officer [Tele]
 ☒ Defendant present ☒ in custody USM                     ☐ Defendant not present / failed to appear
                      ☐out of custody

 ☒     USA Motion for Detention                           ☒    Rights given
 ☐     USA not seeking detention                          ☒    Acknowledgment of Rights filed
 ☐     Financial Affidavit (CJA 23) filed previously in   ☒    Defendant received copy of charging document
       his other cases w/Mr. Marchi
 ☐     The Court will appoint the Federal Defenders       ☒    Defendant waived reading of charging document
 ☒     Based upon conflict with Federal Defenders, the    ☐    Charging document read in open court
       Court will appoint Nicholas Marchi a CJA Panel
       Attorney
 ☒     PRE-Trial Services Report ordered                  ☐    POST Pre-Trial Services Report ordered

 ☐     AO Advice of Penalties/Sanctions filed


                                                 REMARKS
        Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the charging document.
        The Defendant acknowledged to the Court that their true and correct name is: Nicholas Sean
Carter.
        “Not guilty” plea entered.
        Discovery to be provided pursuant to the local rule on discovery.


The Court ordered:
        1. Defendant shall be detained by the U. S. Marshal until further order of the Court.


                                           Detention Hearing:
                                    01/28/2020 @ 3:00 p.m. [R/MKD]




Digital Recording/R-326                  Time: 1:55 p.m. – 2:07 p.m.                                    Page 1
